           Case 6:19-ap-01050-MH                   Doc 38 Filed 12/19/19 Entered 12/19/19 12:59:03                                      Desc
                                                    Main Document    Page 1 of 4



  Attorney or Party Name, Address, Telephone & FAX Nos., State Bar No. &       FOR COURT USE ONLY
  Email Address


  Baruch C. Cohen, Esq. (SBN 159455)
  LAW OFFICE OF BARUCH C. COHEN
           A Professional Law Corporation
  4929 Wilshire Boulevard, Suite 940
  Los Angeles, California 90010
  (323) 937-4501 Fax (323) 937-4503
  e-mail: baruchcohen@baruchcohenesq.com




       Individual appearing without attorney
       Attorney for Plaintiffs

                                            UNITED STATES BANKRUPTCY COURT
                                    CENTRAL DISTRICT OF CALIFORNIA – RIVERSIDE DIVISION

  In re:
                                                                               CASE NO.: 6:19-bk-10279-MH
  THOMAS MOUNT
                                                                               CHAPTER: 7
                                                                               ADVERSARY NO: 6:19-ap-01050-MH
                                                                Debtor(s).

  JONATHAN BAKER & BAKER ENTERTAINMENT
  GROUP
                                                                               NOTICE OF LODGMENT OF ORDER OR
                                                                               JUDGMENT IN ADVERSARY PROCEEDING
                                                               Plaintiff(s),
                                                                               RE:
                                     vs.
                                                                               STIPULATION FOR NON-WAIVER OF ATTORNEY-
  THOMAS MOUNT                                                                 CLIENT PRIVILEGE AND WORK PRODUCT
                                                                               PROTECTION (FED. R. EVID. 502(D) AND (E))
                                                               Defendant.




PLEASE TAKE NOTE that the order or judgment titled ORDER GRANTING NON-WAIVER OF ATTORNEY-
CLIENT PRIVILEGE AND WORK PRODUCT PROTECTION (FED. R. EVID. 502(D) AND (E)) was lodged on
12/9/2019 and is attached. This order relates to the motion which is docket number 37.




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

December 2012                                                         Page 1                  F 9021-1.2.ADV.NOTICE.LODGMENT
     Case 6:19-ap-01050-MH          Doc 38 Filed 12/19/19 Entered 12/19/19 12:59:03           Desc
                                     Main Document    Page 2 of 4



 1   Baruch C. Cohen, Esq. (SBN 159455)
     LAW OFFICE OF BARUCH C. COHEN
 2          A Professional Law Corporation
     4929 Wilshire Boulevard, Suite 940
 3   Los Angeles, California 90010
 4   (323) 937-4501Fax (323) 937-4503
     baruchcohen@baruchcohenesq.com
 5
     Attorneys for Plaintiffs Jonathan Baker & Baker Entertainment Group
 6
 7
 8                             UNITED STATES BANKRUPTCY COURT

 9                             CENTRAL DISTRICT OF CALIFORNIA

10                                       RIVERSIDE DIVISION
11
12
      In re                                                Case No.: 6:19-bk-10279-MH
13
      THOMAS MOUNT,                                        Adv. Pro. No.: 6:19-ap-01050-MH
14
15                   Debtor.                               Before the Honorable Mark Houle

16    JONATHAN BAKER & BAKER                               Chapter 7
      ENTERTAINMENT GROUP,
17                                                         ORDER GRANTING STIPULATION
                     Plaintiffs,                           FOR NON-WAIVER OF ATTORNEY-
18                                                         CLIENT PRIVILEGE AND WORK
      v.                                                   PRODUCT PROTECTION (FED. R.
19
                                                           EVID. 502(D) AND (E))
20    THOMAS MOUNT,

21                   Defendant

22
23            The Court has considered the STIPULATION FOR NON-WAIVER OF ATTORNEY-

24   CLIENT PRIVILEGE AND WORK PRODUCT PROTECTION (FED. R. EVID. 502(D)
25   AND      (E))   (“Stipulation”),   between   Plaintiff,   JONATHAN     BAKER       &    BAKER
26
     ENTERTAINMENT GROUP and Defendant, THOMAS MOUNT:
27
28

                                                     1
     Case 6:19-ap-01050-MH    Doc 38 Filed 12/19/19 Entered 12/19/19 12:59:03       Desc
                               Main Document    Page 3 of 4



 1        Based upon the Stipulation and good cause appearing therefor, the Stipulation is
 2   APPROVED.
 3
          IT IS SO ORDERED.
 4
                                             ###
 5
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                              2
        Case 6:19-ap-01050-MH                   Doc 38 Filed 12/19/19 Entered 12/19/19 12:59:03                                      Desc
                                                 Main Document    Page 4 of 4



                                      PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:

                               4929 Wilshire Boulevard, Suite 940, Los Angeles, California 90010.

A true and correct copy of the foregoing document entitled: NOTICE OF LODGMENT OF ORDER OR JUDGMENT IN
ADVERSARY PROCEEDING will be served or was served (a) on the judge in chambers in the form and manner required
by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On 12/19/2019,
I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the following persons
are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

Baruch C Cohen (IP)                                  bcc@BaruchCohenEsq.com, paralegal@baruchcohenesq.com
Charles W Daff (TR)                                  charleswdaff@gmail.com, c122@ecfcbis.com
Christopher Hewitt (DB)                              hewittesq@yahoo.com
US Trustee (RS)                                      ustpregion16.rs.ecf@usdoj.gov

                                                                                         Service information continued on attached page

2. SERVED BY UNITED STATES MAIL: On 12/19/2019, I served the following persons and/or entities at the last known
addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope
in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a
declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.




                                                                                         Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on 12/19/2019, I served the following
persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to such service
method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration that personal
delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is filed.

Hon. Mark D. Houle, USBC, Central District of California, 3420 Twelfth Street, Suite 365, Riverside, CA 92501




                                                                                         Service information continued on attached page


I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.



  12/19/2019               Baruch C. Cohen, Esq.                                              /s/ Baruch C. Cohen
  Date                         Printed Name                                                   Signature




         This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

December 2012                                                      Page 2                  F 9021-1.2.ADV.NOTICE.LODGMENT
